Case 3:19-cv-00477-REP Document 63 Filed 02/17/20 Page 1 of 10 PageID# 627



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                Richmond Division


 TREVOR FITZGIBBON                            )
                                              )
        Plaintiff,                            )
                                              )
 v.                                           )              Case No. 3:19-cv-477-REP
                                              )
                                              )              TRIAL BY JURY
 JESSELYN A. RADACK                           )              IS DEMANDED
                                              )
        Defendant.                            )
                                              )


       PLAINTIFF’S ANSWER AND AFFIRMATIVE DEFENSES
         TO DEFENDANT’S AMENDED COUNTERCLAIM
        Plaintiff/Counterclaim Defendant, Trevor Fitzgibbon (“Fitzgibbon”), by counsel,

 pursuant to Rules 7(a)(3), 8(b-c), and 12(a)(1)(B) of the Federal Rules of Civil Procedure,

 hereby Answers the amended counterclaim [ECF No. 57] filed by defendant, Jesselyn

 Radack (“Radack”), and raises and states the following as Affirmative Defenses:

                           FIRST AFFIRMATIVE DEFENSE

        Radack fails to state a claim of defamation upon which relief can be granted.

 Radack, inter alia, fails to allege that Fitzgibbon published actionable statements of or

 concerning Radack; and fails to allege that Fitzgibbon published any statement with the

 requisite intent – in this case, New York Times malice.




                                              1
Case 3:19-cv-00477-REP Document 63 Filed 02/17/20 Page 2 of 10 PageID# 628



                          SECOND AFFIRMATIVE DEFENSE

         Radack fails to state a claim of fraud upon which relief can be granted. Radack,

 inter alia, fails to allege fraud with particularity; fails to allege scienter; fails to allege

 reliance, reasonable and/or justifiable; fails to allege causation; and fails to allege

 damages.

                           THIRD AFFIRMATIVE DEFENSE

         Any statements made by Fitzgibbon of and concerning Radack are not actionable

 because they are statements of opinion.

                          FOURTH AFFIRMATIVE DEFENSE

         Any statements made by Fitzgibbon of and concerning Radack were made in

 good faith, with the belief that they were true, without actual malice, and for the purpose

 of informing the public of matters of public concern.           Fitzgibbon’s free speech is

 protected by the First and Fourteenth Amendments of the United States Constitution and

 Article I, § 12 of the Virginia Constitution.

                            FIFTH AFFIRMATIVE DEFENSE

         Any statements made by Fitzgibbon of and concerning Radack are absolutely

 and/or qualifiedly privileged or protected by the fair report privilege or statutory privilege

 in § 8.01-223.2 of the Virginia Code.

                            SIXTH AFFIRMATIVE DEFENSE

         Any statements made by Fitzgibbon of and concerning Radack are true and/or

 substantially true.




                                                 2
Case 3:19-cv-00477-REP Document 63 Filed 02/17/20 Page 3 of 10 PageID# 629



                         SEVENTH AFFIRMATIVE DEFENSE

        Radack committed the first material breaches of the settlement agreement. She is

 not entitled to enforce the contract. She materially breached the settlement agreement

 within days of its execution. She also secretly solicited multiple third-parties to help her

 disparage Fitzgibbon and violate the settlement agreement. In private, direct messages

 delivered via Twitter, and concealed from Fitzgibbon, she advised third-parties to tweet

 and retweet about Fitzgibbon. She told third-parties what to say and even crafted the

 specific narrative to be used in tweets, e.g., “years of stalking”. Her malicious concerted

 action is evidenced both by public tweets published by her confederates and by Radack’s

 private messages secretly published to third-parties, e.g.:




                                               3
Case 3:19-cv-00477-REP Document 63 Filed 02/17/20 Page 4 of 10 PageID# 630




                                    4
Case 3:19-cv-00477-REP Document 63 Filed 02/17/20 Page 5 of 10 PageID# 631



                          EIGHTH AFFIRMATIVE DEFENSE

        Fitzgibbon did not cause any of the damage claimed by Radack in the amended

 counterclaim.

                           NINTH AFFIRMATIVE DEFENSE

        Radack did not suffer any damage.

                           TENTH AFFIRMATIVE DEFENSE

        Radack’s amended counterclaim is subject to setoff and counterclaim.

                        ELEVENTH AFFIRMATIVE DEFENSE

        One or more of the allegations in Radack’s amended counterclaim violates Rule

 11(b)(3) of the Federal Rules of Civil Procedure. Fitzgibbon reserves his right to seek

 attorney’s fees and costs pursuant to Rule 11, 28 U.S.C. § 1927 and/or the Court’s

 equitable authority and its power to punish contempt.

                                   Reservation of Rights

        Fitzgibbon reserves the right to raise any and all additional Affirmative Defenses

 that may be revealed in discovery.

                                         ANSWER

        In response to Radack’s amended counterclaim, Fitzgibbon denies any and all

 liability to Radack for any reason whatsoever.

        Responding to each numbered paragraph of the amended counterclaim,

 Fitzgibbon states as follows:

        1.       The allegations in paragraph 1 are admitted.

        2.       The allegations in paragraph 2 are admitted.




                                              5
Case 3:19-cv-00477-REP Document 63 Filed 02/17/20 Page 6 of 10 PageID# 632



        3.      The allegations in paragraph 3 are denied. By filing the counterclaim and

 amended counterclaim, Radack waived the defense of lack of personal jurisdiction.

        4.      The allegations in paragraph 4 are denied. By filing the counterclaim and

 amended counterclaim, Radack waived the defense of improper venue. Further, Radack

 did not file a motion to dismiss for improper venue.

                             COUNT I – Breach of Contract

        5.      The allegations in the first two sentences of paragraph 5 are admitted. All

 remaining allegations are denied.

        6.      In response to the allegations in paragraph 6, Fitzgibbon admits that on

 December 17, 2015 the Huffington Post published an online article entitled, “The

 Disturbing Story of Widespread Sexual Assault Allegations at a Major Progressive PR

 Firm” (the “HuffPost Article”), and that the article may be accessed on the Internet by

 clicking the following hyperlink: https://www.huffingtonpost.com/entry/fitzgibbon-

 media_us_567330fce4b014efe0d4cb4e.         Fitzgibbon denies the accusations in the

 HuffPost Article. All remaining allegations in paragraph 6 are denied.

        1. 1    The allegations in paragraph 1 are denied.

        2.      The allegations in paragraph 2 are denied.

        *       Fitzgibbon objects and denies the allegations in the bold and underlined

 subject header that appears on page 4 of the amended counterclaim.

        3.      The allegations in paragraph 3 are denied.

        4.      The allegations in paragraph 4 are denied.

        5.      The allegations in paragraph 5 are denied.


        1
                Radack’s amended counterclaim reverts from paragraph 6 to paragraph 1.
 Fitzgibbon responds to the paragraphs as they appear in the amended counterclaim.

                                             6
Case 3:19-cv-00477-REP Document 63 Filed 02/17/20 Page 7 of 10 PageID# 633



        6.      The allegations in paragraph 6 are denied.

        7.      The allegations in paragraph 7 are denied.

        8.      The allegations in paragraph 8 are denied.

        *       Fitzgibbon objects and denies the allegations in the bold and underlined

 subject header that appears on page 8 of the amended counterclaim.

        9.      The allegations in paragraph 9 are admitted in part. Fitzgibbon admits that

 the parties entered into the Settlement Agreement and that the terms of the Settlement

 Agreement speak for themselves. All remaining allegations are denied.

        10.     The allegations in paragraph 10 are denied.

        11.     In response to the allegations in paragraph 11, Fitzgibbon states as

 follows: The allegations in paragraphs 11(a)-(f) are denied. The allegations in paragraph

 11(g) are admitted in part. Fitzgibbon published the tweet. All remaining allegations in

 paragraph 11(g) are denied. The allegations in paragraph 11(h)-(k) are denied. The

 allegations in paragraph 11(l) are admitted in part. Fitzgibbon published the tweet. All

 remaining allegations in paragraph 11(l) are denied. The allegations in paragraph 11(m)

 are admitted in part. Fitzgibbon published the statement on medium. The statement

 speaks for itself.   All remaining allegations in paragraph 11(m) are denied.         The

 allegations in paragraph 11(n) are admitted in part. Fitzgibbon replied to the tweet. His

 reply speaks for itself. All remaining allegations in paragraph 11(n) are denied. The

 allegations in paragraph 11(o)-(q) are denied.

        12.     The allegations in paragraph 12 are admitted.

        13.     The allegations in paragraph 13 are denied.




                                              7
Case 3:19-cv-00477-REP Document 63 Filed 02/17/20 Page 8 of 10 PageID# 634



                                COUNT II – Defamation

        14.     In response to the allegations in paragraph 14 of the amended

 counterclaim, Fitzgibbon restates and incorporates herein by reference all the allegations

 in his Amended Complaint, his Affirmative Defenses set forth above, and his answers to

 the allegations in paragraphs 1 – 13 of the amended counterclaim.

        15.     The allegations in paragraph 15 are denied.

        16.     The allegations in paragraph 16 are denied.

        17.     The allegations in paragraph 17 are denied.

        18.     The allegations in paragraph 18 are denied.

        19.     The allegations in paragraph 19 are denied.

        20.     The allegations in paragraph 20 are denied.

               COUNT III – Fraudulent Inducement (In the Alternative)

        21.     In response to the allegations in paragraph 21 of the amended

 counterclaim, Fitzgibbon restates and incorporates herein by reference all the allegations

 in his Amended Complaint, his Affirmative Defenses set forth above, and his answers to

 the allegations in paragraphs 1 – 20 of the amended counterclaim.

        22.     The allegations in paragraph 22 are denied.

        23.     The allegations in paragraph 23 are denied.

        24.     The allegations in paragraph 24 are denied.

        25.     The allegations in paragraph 25 are denied.




                                             8
Case 3:19-cv-00477-REP Document 63 Filed 02/17/20 Page 9 of 10 PageID# 635



        Any and all allegations not expressly admitted are denied. Fitzgibbon denies any

 and all obligation and liability to Radack for any reason, and moves the Court to dismiss

 the counterclaim with prejudice and to award Fitzgibbon his attorneys’ fees and costs

 pursuant to Rule 11, 28 U.S.C. § 1927 and the Court’s inherent power.

        Fitzgibbon reserves the right to raise any additional matters of avoidance and

 defense revealed in and by any discovery taken in this action.

                     CONCLUSION AND PRAYER FOR RELIEF

        For the foregoing reasons, Plaintiff, Trevor Fitzgibbon, requests the Court to

 dismiss Radack’s amended counterclaim with prejudice, and to award attorney’s fees and

 all other costs and expenses suffered or incurred in connection with Fitzgibbon’s defense

 of Radack’s baseless amended counterclaim.



                           TRIAL BY JURY IS DEMANDED



 DATED:         February 17, 2020



                               TREVOR FITZGIBBON



                               By:    /s/ Steven S. Biss
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                                      Counsel for the Plaintiff



                                             9
Case 3:19-cv-00477-REP Document 63 Filed 02/17/20 Page 10 of 10 PageID# 636



                            CERTIFICATE OF SERVICE

        I hereby certify that on February 17, 2020 a copy of the foregoing was filed

  electronically using the Court’s CM/ECF system, which will send notice of electronic

  filing to counsel for the Defendant and all interested parties receiving notices via

  CM/ECF.




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                                           10
